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                       UNITED STATES DISTRICT COURT
                                  DISTRICT OF HAWAII
   UNITED STATES OF AMERICA,
                                              CIVIL NO. 1:22-cv-00051-DKW-RT
                            Plaintiff,
      v.
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                                                SECOND JOINT STIPULATION
   DEPARTMENT OF HEALTH, STATE                  TO CONTINUE ALL
   OF HAWAII; ELIZABETH A. CHAR,                DEADLINES FOR TWO WEEKS
   in her official capacity as Department of    AND PROPOSED ORDER
   Health Director; MARIAN E. TSUJI, in
   her official capacity as Department of       District Judge: Derrick K. Watson
   Health Deputy Director;
                                                Magistrate Judge: Rom Trader
                        Defendants,
                                                [caption continued]
   and

   SIERRA CLUB; BOARD OF WATER
   SUPPLY, CITY AND COUNTY OF
   HONOLULU,

                         Intervenor-
                         Defendants.



         Pursuant to Civil LR6.2, Plaintiff UNITED STATES; Defendants

 DEPARTMENT OF HEALTH, STATE OF HAWAI‘I; ELIZABETH A. CHAR,

 in her official capacity as Director of the State of Hawai‘i Department of Health,

 and MARIAN E. TSUJI, in her official capacity as Deputy Director of the State of

 Hawai‘i Department of Health (collectively, “the State”); Intervenor-Defendant

 SIERRA CLUB; and Intervenor-Defendant the BOARD OF WATER SUPPLY,

 CITY AND COUNTY OF HONOLULU (“Board of Water Supply”) hereby

 stipulate and agree as follows:

         1.   On March 7, 2022, the United States notified the Court that the

 Secretary of Defense directed “the Secretary of the Navy, in coordination with the

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 Commander of the United States Indo-Pacific Command, to take all steps

 necessary to defuel and permanently close the Red Hill Bulk Fuel Storage

 Facility.” ECF No. 16, Exhibit A at 1.

         2.   To give the parties an opportunity to meet and confer regarding the

 effect of the Secretary of Defense’s announcement on the pending litigation, the

 parties have agreed to continue for two weeks all deadlines and hearings in this

 case.

         3.   Previously, pursuant to the parties’ stipulation, the Court granted an

 extension until March 15, 2022, of the deadline for Defendants and Intervenor-

 Defendants to file an answer or other responsive pleading. ECF No. 15.

         4.   The Court set a Rule 16 Scheduling Conference for April 4, 2022, at 9

 a.m., before Magistrate Judge Rom Trader. ECF No. 3. Pursuant to the Court’s

 order and the Local Rules, the parties’ Fed. R. Civ. P. 26(f) conference must occur

 at least 21 days prior to the Scheduling Conference, i.e., by March 14, 2022, and

 the parties must file and serve on all parties a Scheduling Conference Statement at

 least seven days prior to the Conference, i.e., by March 28, 2022.

         5.   THEREFORE, the parties hereby stipulate to and request that the

 Court enter an order extending to March 29, 2022, the deadline for Sierra Club,

 the Board of Water Supply, and the State to file answers or other responsive




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 pleadings; and continuing the Rule 16 Conference and associated deadlines until

 April 18, 2022, or another convenient date for the Court.

       Dated: March 9, 2022            Respectfully submitted,

                                       TODD KIM
                                       Assistant Attorney General
                                       Environment & Natural Resources Division
                                       U.S. Department of Justice

                                       /s/ Lucy E. Brown
                                       LUCY E. BROWN (HI Bar #10946)
                                       LESLIE M. HILL (DC Bar #476008)
                                       DAVID D. MITCHELL (IL Bar #6302250)
                                       Environmental Defense Section

                                       ELLIOT ENOKI (HI Bar #1528)
                                       Executive Assistant U.S. Attorney
                                       District of Hawaii
                                       Attorney for the United States,
                                       Acting under Authority Conferred by
                                       28 U.S.C. § 515
                                       DANA A. BARBATA (HI Bar #9112)
                                       Assistant U.S. Attorney

                                       Attorneys for Plaintiff

  DATED: Honolulu, Hawai‘i, March 8, 2022.

                                       /s/ David L. Henkin
                                       DAVID L. HENKIN
                                       KYLIE W. WAGER CRUZ
                                       EARTHJUSTICE

                                       Attorneys for Intervenor-Defendant
                                       SIERRA CLUB



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  DATED: Honolulu, Hawai‘i, March 8, 2022.

                                                   /s/ Jeff A. Lau

                                                   Attorney for Intervenor-Defendant
                                                   BOARD OF WATER SUPPLY, CITY
                                                   AND COUNTY OF HONOLULU

  DATED: Honolulu, Hawai‘i, March 8, 2022.

                                                   /s/ Nicholas M. McLean
                                                   HOLLY T. SHIKADA
                                                   Attorney General of the State of Hawai‘i
                                                   ROBERT T. NAKATSUJI
                                                   First Deputy Solicitor General
                                                   NICHOLAS M. MCLEAN
                                                   Deputy Solicitor General

                                                   Attorneys for DEPARTMENT OF
                                                   HEALTH, STATE OF HAWAI‘I;
                                                   ELIZABETH A. CHAR, in her official
                                                   capacity as Director of the State of Hawai‘i
                                                   Department of Health;
                                                   MARIAN E. TSUJI, in her official capacity
                                                   as Deputy Director of the State of Hawai‘i
                                                   Department of Health

 APPROVED AND SO ORDERED.
 DATED:          March 9, 2022, at Honolulu, Hawai‘i.


                                                /s/ Derrick K. Watson
                                                Derrick K. Watson
                                                United States District Judge




 UNITED STATES v. DEPARTMENT OF HEALTH, STATE OF HAWAI‘I; ELIZABETH A. CHAR, in her official
 capacity as Department of Health Director; MARIAN E. TSUJI, in her official capacity as Department of Health
 Deputy Director; and SIERRA CLUB; and BOARD OF WATER SUPPLY, CITY AND COUNTY OF HONOLULU;
 No. 1:22-cv-00051-DKW-RT; SECOND JOINT STIPULATION AND ORDER TO CONTINUE ALL DEADLINES


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